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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :     Criminal No. 21-cr-383
                                               :
PATRICK STEDMAN,                               :
                                               :
                       Defendant.              :

                                       NOTICE OF FILING

       The government requests that the attached Memorandum Regarding Discovery filed on

July 20, 2021, in United States v. Jeffrey Sabol, et al., Case No. 21-cr-35 (EGS) be made part of

the record in this case, as it provides a comprehensive review of the overall discovery efforts in

Capitol Riot cases as of the date of filing.


                                                     Respectfully submitted,

                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney


                                               By:   _/s/ Peter Lallas_____________
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